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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

BERTRUM JEAN, individually and asthe §
surviving father of Bothan Shem Jean, §
ALLISON A. JEAN, individually and as the §
surviving mother of Botham Shem Jean,
and ALLISA E. FINDLEY as the
Administrator of the Estate of Botham
Shem Jean,

Plaintiffs,
Vv. Civil Action No. 3:18-CV-2862-M
THE CITY OF DALLAS, TEXAS, and
AMBER GUYGER,

Defendants.

GP GP Gr LG LA SP? LI LI SF Lo LP

ORDER ACCEPTING FINDINGS AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE JUDGE

After reviewing the Findings, Conclusions, and Recommendation of the United States
Magistrate Judge and conducting a de novo review of those parts of the Findings and Conclusions
to which objections have been made, I am of the opinion that the Findings and Conclusions of the
Magistrate Judge are correct and they are accepted as the Findings and Conclusions of the Court.

The Defendant City of Dallas’s Motion Pursuant to Rule 12(b)(6) to Dismiss the Plaintiffs’
Claims Alleged Against it in the Plaintiffs’ Original Complaint, and Brief in Support, filed
November 29, 2018 (doc. 7), is GRANTED. By separate judgment, all of the plaintiffs’ claims
against the defendant City of Dallas, Texas, will be DISMISSED with prejudice for failure to state

a claim upon which relief can be granted.

 
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SIGNED this 1B) day of December, 2019.

ARA M. G. KYNN
IEF JUDGE

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